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                     UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION
                             www.flmb.uscourts.gov

In re:                                                    Case No. 8:22-bk-02423-CED
Gaby Fraifer,

      Debtor.                                             Chapter 11
_________________________________/

                UNITED STATES TRUSTEE’S EXHIBIT LIST FOR
                    TRIAL ON CONFIRMATION OF PLAN
                     HELD ON MAY 2, 2023 AT 9:30 A.M.

 Exhibit Document Description                        Identified Admitted With or
 No.                                                                     Without
                                                                         Objection
    1.     Subchapter V Trustee’s Historical and
           Future Analysis of all of Debtor’s
           Businesses and the Related
           Assumptions
    2.     Subchapter V Trustee’s Analysis of
           Potential Funds Available to Creditors
           Utilizing His Business Analysis
           (Exhibit 1) and Debtor’s Plan Budget
    3.     Subchapter V Trustee’s Settlement
           Proposal regarding Reductions in
           Debtor’s Budget and the Related
           Assumptions

Dated: April 26, 2023
                                            Respectfully submitted,

                                            MARY IDA TOWNSON
                                            UNITED STATES TRUSTEE
                                            Region 21

                                    By:     /s/ Nicole Peair
                                            Trial Attorney
                                            Office of the United States Trustee
                                            501 E. Polk Street, Suite 1200
                                            Tampa, Florida 33602
                                            (813) 228-2000 / fax (813) 228-2303
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                             CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been furnished by
electronic mail upon all currently registered users in this case by the Court’s CM/ECF
system on April 26, 2023.

                                                             /s/ Nicole Peair




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